                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        WINSTON-SALEM DIVISION




FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF                      Case No. 1:22-cv-00828-TDS-JEP
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,                               [PROPOSED] ORDER
                Plaintiffs,
          v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
                Defendants.



         Upon consideration of Plaintiffs’ Motion to Strike as Untimely the Declaration of

David Rosenthal on Swiss Law, it is hereby ORDERED that the Motion is GRANTED

and it is further ORDERED that the Rosenthal Declaration (Doc. 248-1) is stricken.




Dated:                                     _________________________________




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